Case: 1:18-cv-01713 Document #: 134 Filed: 09/16/19 Page 1 of 11 PagelD #:2284

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

GENERAL ORDER 19-0029

Pursuant that to the Executive Committee Order entered on September 12, 2019 the civil
cases on the attached list have been selected for reassignment to form the initial calendar of the
Honorable Steven Seeger; therefore

IT IS HEREBY ORDERED that the attached list of 342 cases be reassigned to the Honorable
Steven Seeger; and

IT IS FURTHER ORDERED that all parties affected by this Order must review the
Honorable Steven’s webpage on the Court’s website for the purpose of reviewing instructions
regarding scheduling and case management procedures; and

IT IS FURTHER ORDERED that any civil case that has been reassigned pursuant to this
Order will not be randomly reassigned to create the initial calendar of a new district judge for twelve
months from the date of this Order; and

IT IS FURTHER ORDERED that the Clerk of Court is directed to add the Honorable Steven

Seeger to the Court’s civil case assignment system during the next business day, so that he shall
receive a full share of such cases.

ENTER:

FOR THE EXECUTIVE COMMITTEE

(Kern Chcemnp.

Hon. Rebecca R. Rallmeyer, Chief Judge

Dated at Chicago, Illinois this 16th day of September, 2019
Case: 1:18-cv-01713 Document #: 134 Filed: 09/16/19 Page 2 of 11 PagelD #:2284

Civil Cases Reassigned to Judge Seeger from Judge Alonso

1:16-cv-07511
1:17-cv-01968
1:17-cv-06507
1:17-cv-09190
1:18-cv-02995
1:18-cv-04742
1:18-cv-06188
1:18-cv-07329
1:18-cv-08237
1:19-cv-00820
1:19-cv-01923
1:19-cv-02358
1:19-cv-03723
1:19-cv-04527

Oxford Media Group, Inc. v. Family Worship Center Church, Inc.

Pryor v. Corrigan et al

Turner et al v. City of Chicago Board of Education et al

Chapman v. Lashbrook et al

PNC Bank, National Association v. 2215 Oak Park Ave, LLC et al

Jackson v. Star Line Trucking Corporation et al

Roberts v. United States Parale Commission

Jardinas v. City of Chicago, The et al

Abudayyeh v. Saul

Parker v. City of Chicago et al

Mesa Underwriters Specialty Insurance Company v. City of Chicago et al
Coyote Logistics, LLC v. Agatanor Trucking, Incorporated

Meridian Leasing Corporation v. Revlon Consumer Products Corporation
Sanchez v. Tootsie Roll

Civil Cases Reassigned to Judge Seeger from Judge Aspen

1:18-cv-04387
1:18-cv-04856
1:18-cv-08061
1:19-cv-00130
1:19-cv-02946
1:19-cv-04398
1:19-cv-05358

Thompson v. Calloway

Hallom v. Chicago et al

Mccall v. United States of America

Aguirre v. Dart et al

Cohan v. Integrated 32 West Randolph, LLC
Cehaja v. T-Mobile U.S.A. Inc.,

Krnich v. FPC Corporation

Civil Cases Reassigned to Judge Seeger from Judge Blakey

1:17-cv-01972
1:17-cv-07142
1:18-cv-01865
1:18-cv-03275
1:18-cv-04670
1:18-cv-05330
1:18-cv-07655
1:18-cv-08184
1:19-cv-00397
1:19-cv-01441
1:19-cv-02149
1:19-cv-02729
1:19-cv-03483
1:19-cv-03793

Motorola Solutions, Inc. v. Hytera Communications Corporation Ltd. et al
Garner et al v. Presence Chicago Hospital Network et al

Vargas v. Sheriff of Cook County et al

Boyd v. Pfiester et al

HP Tuners, LLC v. Does

Estate of Leslie Johnson v. Illinois Department of Corrections et al
Roberts v. United States Postal Service et al

Sangamnerkar v. Ingredion, Inc.

Northwest 1 Trucking Inc. v. Haro et al

Wiseman et al v. Santiva, Inc et al

Crooms et al v. Southwest Airlines Co. et al

United States of America v. Salem

Baillie v. Santander Consumer USA Inc.

Forsyth v. Adtalem Global Education, Inc. f/k/a Devry, Inc.
Case: 1:18-cv-01713 Document #: 134 Filed: 09/16/19 Page 3 of 11 PagelD #:2284

Civil Cases Reassigned to Judge Seeger from Judge Bucklo

1:17-cv-00866
1:17-cv-05826
1:18-cv-02191
1:18-cv-04162
1:18-cv-06042
1:18-cv-07561
1:19-cv-00386
1:19-cv-02554
1:19-cv-03070
1:19-cv-03492
1:19-cv-04622
1:19-cv-04880
1:19-cv-05304
1:19-cv-05693

Alvarez v. Cruz, etal

Allstate Insurance Company et al v. Ameriprise Financial Services, Inc.
Serrano et al v. City of Chicago et al

Leisner et al v. Chop Hospitality, LLC et al

Brown v. Phister et al

Patterson v. Cook County Inc et a!

Cristofaro v. Philips North America, LLC. et al

Ferguson v. Wilkie

Big Hit Entertainment Co. Ltd. v. Various John Does, Jane Does, and XYZ Companies
Hossfeld v. Allstate Insurance Company

State National Insurance Company, Inc. v. Luzaj et al

Gendron v. Boeing Company et al

Aldridge v. St. James Francincas et al

Brown v. Saul

Civil Cases Reassigned to Judge Seeger from Judge Castillo

1:17-cv-07080
1:17-cv-08829
1:18-cv-01192
1:18-cv-01957
1:18-cv-02989
1:18-cv-03544
1:18-cv-04185
1:18-cv-05120
1:18-cv-05129
1:18-cv-06281
1:18-cv-07076
1:18-cv-07501

1:19-cv-00545
1:19-cv-01092
1:19-cv-01214
1:19-cv-02027
1:19-cv-02113
1:19-cv-02566
1:19-cv-02596
1:19-cv-02877
1:19-cv-03344
1:19-cv-03456
1:19-cv-03680
1:19-cv-03772
1:19-cv-03977
1:19-cv-04098
1:19-cv-04367

Gonzalez et al v. Scaletta et al

NEXT Payment Solutions inc. v. CLEAResult Consulting, Inc.
Ruebe et al v. Nexus Executive Risks Ltd. et al

Dresser, LLC v. VRG Controls, LLC

Sprague v. Illinois State Police et al

Frazier-Hill v. Chicago Transit Authority

Cregan v. Lt. Deans et al

Gipson v. City of Chicago et al

Rainey v. City of Chicago et al

Franklin et al v. City of Chicago, et al

Yaniz et al v. City of Elgin et al

Chicago Regional Council of Carpenters Pension Fund et al v. MC Install & Dismantie
Corporation et al

Villalobos v. Meyer Njus Tanick, PA

Moore v. City of Chicago et al

Woods et al v. Adamski et al

Livingston v. Uber Technologies, Inc. et al

Lisle Place Condominium Association v. Village of Lisle et al
Domingo v. Prudential Insurance Company of America, The
Rogers v. Wells Fargo Bank N.A.

Heckenbach v. Bloomingdale et al

Lust v. LTF Club Management Company, LLC et al

KU, LLC et al v. Barnhardt et al

Sklarsky et al v. Indigo Real Estate Services, Inc. et al
Liberty Mutual Fire Insurance Company v. Philadelphia Indemnity Insurance Company
Vince-Cruz v. City of Waukegan et al |

Smith et al v. Stern et al

Tribuzio v. Bedford Motor Service, Inc.
Case: 1:18-cv-01713 Document #: 134 Filed: 09/16/19 Page 4 of 11 PagelD #:2284

1:19-cv-04515

1:19-cv-04646
1:19-cv-04674
1:19-cv-04971
1:19-cv-05008
1:19-cv-0S042
1:19-cv-05264
1:19-cv-05334
1:19-cv-05382
1:19-cv-05452
1:19-cv-05532
1:19-cv-05573
1:19-cv-05677
1:19-cv-05762
1:19-cv-05813
1:19-cv-05864

Bill Casey Electric Sales, Inc. v. Citizens Insurance Company of America a member of The
Hanover Insurance Group

M.M. v. Evanston Township High School

Murarescu v. GC Services Limited Partnership

King Fabrication, LLC v. Walsh Construction Company, LLC et al
Pilot X v. The Boeing Company

Ash v. PSP Distribution, LLC et al

Vollmer v. Saul

Steele v. Fox Valley Park District

Reed v. Polekatz Gentlemen's Club, LLC et al

Adams v. Baidwirn et al

Able Home Health, LLC v. H Care Jobs, Inc. et al

Ifianayi v. Mendez et al

Iron Workers' Mid-America Pension Plan et al v. Martin

Seda et al v. McAleenan et al

Cohan v. Sunrise Hospitality Inc.

Castillo v. Dart et al

Civil Cases Reassigned to Judge Seeger from Judge Chang

1:17-cv-01361
1:17-cv-06681
1:18-cv-00992
1:18-cv-03269
1:18-cv-05044
1:18-cv-06251
1:18-cv-07311
1:18-cv-08272
1:19-cv-00596
1:19-cv-01609
1:19-cv-02509
1:19-cv-03206
1:19-cv-04953
1:19-cv-04236

Ramzan v. United States

Vogel v. McCarthy, Burgess, & Wolff, Inc.

Ironbeam, Inc. v. Papadopoulos et al

Dolemba v. Hearing Better For Life, LLC et al

Green v. City of Chicago

Lu v. Nielsen

Chamopoulos v. Lord & Taylor, LLC

Kenese v. Chatolic Charties

United States Gypsum Company v. Ameriform LLC et al
Laborers’ Pension Fund et al v. Total Home Restoration 1 a/k/a THR 1, Inc. et al
Martin v. Union Pacific Railroad Company

Petropoulos et al v. City of Chicago

Ligay v. U.S. Immigration and Customs Enforcement et al
People of The State of Illinois v. Glamour Services, LLC et al

Civil Cases Reassigned to Judge Seeger from Judge Coleman

1:16-cv-07099
1:17-cv-02877
1:17-cv-06004
1:17-cv-08864
1:18-cv-02028
1:18-cv-04193
1:18-cv-06546
1:18-cv-07230
1:19-cv-00224

U.S. Small Business Administration, as Receiver for Cardinal Growth, L.P. v. McInerney
White v. City of Chicago et al

Smith et al v. Sheehan et al.,

Gill v. Obaisi et al

Williamson v. Ortiz et al

Lockhart v. Baldwin et al

Brinley Holdings Inc et al v. RSH Aviation, Inc. et al

Martinez v. Saul

Williams v. CCC Information Services, Inc. et al
Case: 1:18-cv-01713 Document #: 134 Filed: 09/16/19 Page 5 of 11 PagelD #:2284

1:19-cv-01229
1:19-cv-02286
1:19-cv-02769
1:19-cv-03301
1:19-cv-03731

Ford-Reyes et al v. Progressive Funeral Home et al

Lee v. Buffman et al

1000 Rand Road Condominium Association v. Secura Insurance
Katcho et al v. Madsen et al

Palmer et al v. Johnson & Johnson et al

Civil Cases Reassigned to Judge Seeger from Judge Dow

1:15-cv-09086
1:16-cv-07578
1:17-cv-02067
1:17-cv-05715
1:17-cv-09054
1:18-cv-00396
1:18-cv-02439
1:18-cv-03452
1:18-cv-04793
1:18-cv-05674

1:18-cv-06430
1:19-cv-00373
1:19-cv-00761

Edwards v. David et al

Annie v. SVT, LLC

Safrithis v. Shulkin

Zblewska et al v. Wilkie

Washington v. Wilkie

Seong et al v. BEDRA, Inc. et al

Appel et al v. LaSalle County State's Attorney Felony Enforcement Unit et al
Clayborn v. Walter Investment Management Corp, Ditech

Battles v. Enterprise Leasing Company of Chicago

Fox Valley Laborers Health and Welfare Fund et al v. ASC Insulation, Fireproofing and
Supplies, Inc.

Malibu Media, LLC v. John Doe, subscriber assigned IP address 162.201.221.78
McClendon v. Lochard

Moore v. National YMCA Inc. et al

1:19-cv-01278 Dalton et al v. Coloplast Corp. et al

Civil Cases Reassigned to Judge Seeger from Judge Durkin

1:16-cv-02150
1:17-cv-02052
1:17-cv-08120
1:17-cv-09314
1:18-cv-04978
1:18-cv-06050
1:18-cv-07021
1:18-cv-08228
1:19-cv-00543
1:19-cv-01537
1:19-cv-02763
1:19-cv-03250
1:19-cv-04108
1:19-cv-04679

Short v. Grayson et al

Curry v. Obaisi et al

Elizarri v. Cook County et al

Campos v. Illinois Department of Child and Family Services et al
Turner v. Middle River Marine, LLC

Davis v. Curran et al

lron Workers’ Mid-America Pension Plan et al v. R & W Clark Construction, Inc.
Hill v. Cook County et al

Krupa v. Quinn et al

Keller v. Grontund, et al

Laborers' Pension Fund et al v. DRW Services, Inc. et al

Barrett v. United States of America et al

Tangen v. Experian Information Solutions, Inc.

Arsene v. Cuccinelli et al
Case: 1:18-cv-01713 Document #: 134 Filed: 09/16/19 Page 6 of 11 PagelD #:2284

Civil Cases Reassigned to Judge Seeger from Judge Ellis

1:17-cv-01914
1:17-cv-06647
1:18-cv-00085
1:18-cv-02069
1:18-cv-04400
1:18-cv-05990
1:18-cv-06998

Young v. Cook County Jail et al

Chatman v. Pfister et al

Lopez et al v. United States of America

Hampton v. Democratic Party of Illinois et al
Hussein v. Cavalry SPV |, LLC et al

Cooper v. Aon Hewitt Investment Consulting Inc.
Robinson v. Budde et al

1:18-cv-07026 Harold L. Robinson v. Will County Board of Election

1:18-cv-07959
1:19-cv-02440
1:19-cv-03013
1:19-cv-03396
1:19-cv-03904
1:19-cv-04431
1:19-cv-04865

Brown v. C.O, Mrs. Stemper et al

MacNeil Automotive Products Limited v. 3W Auto Accessory Inc. et al
Jackson v. National Railroad Passenger Corporation

Brunner et al v. Beltman Group Incorporated

Johnson v. City of Chicago et al

Kosaraju v. Medina et al

Reeves v. Bobby E. Wright CB Center

Civil Cases Reassigned to Judge Seeger from Judge Feinerman

1:17-cv-05723

Saleski v. Ciach et al

1:19-cv-3497 Saleski v. Cook County of Illinois et al

1:18-cv-02005
1:18-cv-04091
1:18-cv-06470
1:18-cv-07335
1:18-cv-08529
1:19-cv-00849
1:19-cv-02019
1:19-cv-02210

Advantage Futures LLC v. Herm LLC et al
Tapia v. Hyland et al

Obrycki v. Moore et al

Doe v. Loyola University Chicago

Langos v. Ford Motor Company

Chrostek et al v. Chicago Park District et al
United States of America vs Rodriguez
Harris v. Ealey

1:19-cv-04598 Harris v. County Of Cook et al
1:19-cv-04599 Harris v. Avila
1:19-cv-05138 Harris v. Khan et al

1:19-cv-03984
1:19-cv-04866
1:19-cv-04291
1:19-cv-05613
1:19-cv-05029

Coconate v. All Masonry Construciton Co., Inc. et al

Covarrubias v. Wendy's Properties, LLC

Strike 3 Holdings, LLC v. Doe subscriber assigned IP Address 23.122.161.236
Reynolds et al v. Higginbottom et al

Roor International BV et al v. Up in Smoke et al

Civil Cases Reassigned to Judge Seeger from Judge Gettleman

1:17-cv-03986
1:17-cv-07879

H.O.P.E., Inc. v. Morningside Equities Group et al
Jones v. Barber et al

1:18-cv-03686 Damion Jones v. Tom Dart

1:18-cv-02553
1:18-cv-04159

Eason et al v. Rauner et al
Marques v. United Airlines, Inc. et al
Case: 1:18-cv-01713 Document #: 134 Filed: 09/16/19 Page 7 of 11 PagelD #:2284

1:18-cv-05700
1:18-cv-05829
1:18-cv-07729
1:19-cv-00561
1:19-cv-02433
1:19-cv-03089
1:19-cv-03616
1:19-cv-04041
1:19-cv-04736
1:19-cv-05108

Salley v. Sgt. Parker et al

Malkowski v. Cleveland Corporation

Laborers' Pension Fund et al v. Midwest Brickpaving, Inc. et al

Prelipceanu v. Jumio Corporation

Krass v. The Hartford Financial Services Group, Inc.

Nationwide Life and Annuity Insurance Company et al v. Walker

Scottsdale Insurance Company v. Lafayette Plaza Housing Cooperative et al
Zavala-Alvarez v. Darbar Management, Inc. et al

Malibu Media, LLC v. Doe, subscriber assigned IP address 98.206.195.6
Visterniceanu et al v. Barr et al

Civil Cases Reassigned to Judge Seeger from Judge Gottschall

1:16-cv-10969
1:16-cv-11555
1:17-cv-00877
1:18-cv-00267
1:18-cv-05505

Brickstructures, Inc. v. Coaster Dynamix, Inc.
Herbster et al v. 3550 Condominium Association et al
Odom v. Lakeside Community Committee
Generations Health Care Network et al v. Norwood
Kolb v. United Motors

Civil Cases Reassigned to Judge Seeger from Judge Guzman

1:18-cv-07163
1:19-cv-03175
1:19-cv-02835
1:19-cv-03858
1:19-cv-04002
1:19-cv-05170
1:19-cv-05838

Spitzer-Cohn v. Cigna Behavioral Health, Inc. et al

Chaplick et al v. Kovitz Shifrin Nesbit, A Professional Corporation
Grubbs v. Transworld Systems, Inc.

Ferreyra v. Zamora et al

Taulbee v. Cargill 1B LLC et al

Geske v. PNY Technologies, Inc.

Verch v. Global Resources Direct LLC

Civil Cases Reassigned to Judge Seeger from Judge Kendall

1:15-cv-08965
1:17-cv-06401
1:17-cv-07141

1:18-cv-00268
1:18-cv-03478
1:18-cv-04551
1:18-cv-05152
1:18-cv-06339
1:18-cv-07184
1:19-cv-00796
1:19-cv-01327
1:19-cv-04639
1:19-cv-05258

Slabon v. Sanchez et al

Straub v. Jewel Foods

United Food and Commercial Workers Unions and Employers Midwest Pension Fund,
and Trustees et al v. E.R. Smith Enterprises, Inc. d/b/a Lakeside Foods
Campbell-Salahuddin v. Ford Motor Company et al

Shenault Jr. v. City of Chicago et al

Monster Energy Company v. Cycle Locators Inc.

Harris v. Judkins et al

Citgo Petroleum Corporation v. United Steelworkers Union, Local No. 7-517
Vento v. Superion, Inc. et al

Singleton v. Wright Medical Technology, Inc. et al

Toth Gray et al v. Lamp Liter, Inc.

Nelson v. Generations at Applewood, LLC et al

Burns v. The Sherwin-Williams Company
Case: 1:18-cv-01713 Document #: 134 Filed: 09/16/19 Page 8 of 11 PagelD #:2284

1:19-cv-05565

Latypov v. Halsted Financial Services, LLC et al

Civil Cases Reassigned to Judge Seeger from Judge Kennelly

1:17-cv-04221
1:17-cv-09322
1:18-cv-01713
1:18-cv-04650
1:18-cv-05750

Harshaw v. Aries

David Jones v. Ogrodnick

In Re: Akorn, Inc. Data Integrity Securities Litigation
Brown v. Peterson et al

Hollerway v. Sirillo et al

1:19-cv-02317 Marquise Hollerway v. Walsh

1:18-cv-07029
1:18-cv-08170
1:19-cv-00418
1:19-cv-01546
1:19-cv-02265
1:19-cv-03101
1:19-cv-03756
1:19-cv-04317
1:19-cv-04632

Pocasangre v. Scurto Cement Construction LTD., an Illinois Corporation

Odeh v. Cook County et al

Abdullah et al v. Nielsen et al

Wince v. CBRE Inc. et al

Hardy v. DuPage Medical Group, LTD., et al

Carpenters Fringe Benefit Funds of Illinois et al v. Union Financial Services, Inc.
Polk et al v. Braun, Star #4076 et al

Brewer v. PC Connection, Inc et al

Malibu Media, LLC v. Doe

Civil Cases Reassigned to Judge Seeger from Judge Kocoras

1:17-cv-03683
1:18-cv-02184
1:18-cv-05016
1:18-cv-06518
1:18-cv-07516
1:19-cv-00076
1:19-cv-01105
1:19-cv-02181
1:19-cv-02893
1:19-cv-03565
1:19-cv-04073
1:19-cv-04683
1:19-cv-05136
1:19-cv-05471

Keilman et al v. Sam's West inc.

Manfre v. May et al

Ferguson v. The Good Mojo Corp

Black v. City of Chicago, The et al

Velasquez et al v. 8 Aces Construction, Inc. et al
Stieglitz v. City of Chicago

Willis v. City of Chicago et al

Jain et al v. The Gap Inc. et al

Johnson v. Ocwen Loan Servicing, LLC et al
Castleberry v. Varga

Veloz v. C.R. Bard, Inc.

Andrews v. Lettuce Entertain You Enterprises, Inc.
Strike 3 Holdings, LLC v. John Doe

Cycling Sports Group, Inc

Civil Cases Reassigned to Judge Seeger from Judge Lee

1:16-cv-10088
1:17-cv-04282
1:18-cv-00016

Wilda v. JLG Industries, Inc.
Hacker v. Dart et al
Williams v. Maden

1:18-cv-01279 Williams v. Pfister et al

1:18-cv-01679
1:18-cv-03372

Wilmette Charter, LLC v. Cooney
Owen v. URS Midwest, Inc.
Case: 1:18-cv-01713 Document #: 134 Filed: 09/16/19 Page 9 of 11 PagelD #:2284

1:18-cv-05094
1:18-cv-06576
1:18-cv-07471
1:19-cv-00176
1:19-cv-01373
1:19-cv-02272
1:19-cv-02920
1:19-cv-03416

Crook v. Sheriff of Cook County et al

Pittsfield Development LLC et al v. The Travelers Indemnity Company
Pentecostal Church of Jesus Christ v. Selective Insurance Company of America
Hytera Communications Corporations LTD. et al v. Motorola Solutions Inc.
Kim v. Alliance Ground International, LLC

Douglas et al v. Alfasigma USA, Inc.

Hunter Killer Productions, Inc.. v. Doe No. 1

Williams v. Kaminski

1:19-cv-03417 Williams v. Squeo et al

1:19-cv-03613

Symbology Innovations LLC v. Essentra Components Inc.

Civil Cases Reassigned to Judge Seeger from Judge Lefkow

1:17-cv-06095
1:18-cv-06062
1:18-cv-05704
1:18-cv-07967
1:19-cv-01387
1:19-cv-03273
1:19-cv-05366

Starr Indemnity and Liability Company et al v. National Maintenance & Repair, Inc.
General Casualty Company of Wisconsin v. Techloss Consulting and Restoration et al
ED&F Man Capital Markets Ltd. et al v. JVMC Holdings Corp et al

Adger v. R&L Management Co., inc et al

Rice et al v. Jefferson

Able Home Health, LLC v. Liberty Mobile Labs, Inc. et al

Roor International BV et al v. Smoke & Vape et al

Civil Cases Reassigned to Judge Seeger from Judge Leinenweber

1:17-cv-01238
1:17-cv-04132
1:17-cv-08929
1:18-cv-04126

1:19-cv-00399
1:18-cv-07366
1:19-cv-04861

Anderson v. Dart et al

Sinnick v. Clements et al

Morrice v. Phenix Specialty Films, LLC et al

Central States, Southeast and Southwest Areas Pension Fund et al v. Alabama Aluminum
Processors, Inc. et al

Rynied et al v. Pooni et al

CIT Bank N.A. v. Genelle Treadwell et al

BCSP 330 North Wabash Property LLC et al v. Kehoe Designs, Inc.

Civil Cases Reassigned to Judge Seeger from Judge Norgle

1:16-cv-10199
1:17-cv-04840
1:17-cv-08305
1:18-cv-01068
1:18-cv-02888
1:18-cv-04349
1;18-cv-05390
1:18-cv-06474
1:18-cv-07192
1:18-cv-07498
1:19-cv-00505

Kogut et al v. The United States of America et al
Universal Beauty Products, Inc v. Maxim Beauty Products, Inc
Mohsin v. Duke et al

McCoy v. Cassidy (#2027) et al

Bilek v. Blue Cross and Blue Shield Association
Roti et al v. Ethicon, Inc. et al

Frakes v. Northeast Illinois Railroad Corp.

Walker v. Kennedy

Mims v. City Of Chicago et al

Bubbleland Trademarks, LLC v. Spincycle Plus, Inc.
Bittinger v. McCarthy
Case: 1:18-cv-01713 Document #: 134 Filed: 09/16/19 Page 10 of 11 PagelD #:2284

1:19-cv-00933
1:19-cv-02413

Grimes v. United States of America
Yorktown Industries, Inc. et al v. Astor Graphics, Inc.

1:19-cv-03928 Aster Graphics, Inc. v. Yorktown Industries, Inc. et al

1:19-cv-02757

King v. Tom Dart et al

Civil Cases Reassigned to Judge Seeger from Judge Pallmeyer

1:17-cv-01707
1:17-cv-04056
1:17-cv-07863
1:18-cv-00603
1:18-cv-03283
1:18-cv-06084
1:18-cv-07553
1:19-cv-00028
1:19-cv-00769
1:19-cv-01906
1:19-cv-02706
1:19-cv-03402
1:19-cv-04084
1:19-cv-04475

Randall v. Lieutenant Brown et al

Maya v. Lashbrook

Sanchez v. Hargan

Commodity Futures Trading Commission v. Vorley et al

Zhang v. United States, The et al

Love v. Stateville Correctional Facility et al

Ace American Insurance Company v. JTM Electrical Contractors, Inc.
Nabrinsky v. Chicago Union Station Company et al

Harris v. Perez et al

Professional Solutions Insurance Company v. Jain, M.D. et al

Rocquemore v. Hession et al

Aylin & Ramtin, LLC et al v. Barnhardt et al

Malibu Media, LLC v. Doe. subscriber assigned IP address 104.56.165.185
Board of Education of Lake Forest High School District 115 v. lilinois State Board Of
Education et al

Civil Cases Reassigned to Judge Seeger from Judge Shah

1:17-cv-00417
1:17-cv-06461
1:18-cv-01971

1:18-cv-04047
1:18-cv-05527
1:18-cv-06888
1:18-cv-08358
1:19-cv-00621
1:19-cv-01528
1:19-cv-02479
1:19-cv-03509
1:19-cv-03622
1:19-cv-04385
1:16-cv-03787

Bolden v. City of Chicago et al

Clay v. Williams et al

Trustees of the Chicago Painters and Decorators Pension Fund et al v. Copper
Construction Company et al

Allen v. Benton et al

Chicago Tribune, LLC v. Teamsters Local Union No. 727

Castle v. Global Credit & Collection Corporation et al

Gongaware v. Amazon.com, LLC et al

Great Divide Insurance Company v. Linda Construction, Inc. et al
Arquero v. Sheriff Tom Dart et al

Barrett v. Chicago Housing Authority

Cosmedent, Inc. v. Cosmident Dental Laboratories

Oakley, Inc. v. China Synergy Manufacturing Group et al

International License Exchange of America, LLC v. Comcast Corporation
Wilmington v. Butler et al

10
Case: 1:18-cv-01713 Document #: 134 Filed: 09/16/19 Page 11 of 11 PagelD #:2284

Civil Cases Reassigned to Judge Seeger from Judge Tharp

1:16-cv-07971
1:16-cv-10017

Edelman v. Loyola University Chicago
Foster v. Kononov et al

1:17-cv-05759 Foster v. Williams et al

1:17-cv-05320

1:17-cv-07488
1:18-cv-02176
1:18-cv-03477
1:18-cv-05239
1:18-cv-06238
1:18-cv-07884
1:19-cv-00371
1:19-cv-01210
1:19-cv-01640
1:19-cv-02465
1:19-cv-03129

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Inc. et al

Gordon v. Baldwin et al

McMurtry v. Obaisi et al

Shenault v. City of Chicago et al

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Kertsman v. Lifeway Foods, Inc.

Nan v. DGW Legacy, Inc. et al

Barnes v. Dart et al

Thomas v. Carranza et al

Bodyguard Productions, Inc. v. Does 1-13

Media Bank, LLC v. SCOTTeVEST, INC.

Martinez et al v. Park and Field, LLC et al

Civil Cases Reassigned to Judge Seeger from Judge Wood

1:14-cv-10456
1:15-cv-08192

Cox v. Nolan et al
Campbell v. Butler

1:15-cv-09351 Campbell v. Mann et al

1:16-cv-04385
1:16-cv-06516
1:17-cv-01917
1:17-cv-05220
1:17-cv-07621
1:18-cv-01028

Williams v. Starks et al

Lepe et al v. Village of Round Lake Park et al
Mandra v. Paulauskas et al

Benson et al v. Zenco Collections LLC et al
Cage v. Harper et al

DeLeon-Reyes v. Guevara et al

1:18-cv-02312 Solache v. City of Chicago

1:18-cv-02590
1:18-cv-04065
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1:18-cv-07564
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1:18-cv-08485

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Parra et al v. Marathon Systems, Inc. et al

Hannah v. Huntington Bancshares Incorporated

Bowen v. State of Wisconsin and its Private Agencies, The
Ulysse et al v. Axiom St Charles et al

11
